               CaseCase 3:22-cv-01479-FLW
                    21-30589-MBK    Doc 1773Document   1-1 FiledEntered
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                                                                          03/17/22  of 1 PageID:
                                                                                             Desc15Main
                                             Document       Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                               District of New Jersey

      In re:                                                             Chapter:                          ________________
                                                                                                                  11
        LTL Management LLC                                               Case Number:                      ________________
                                                                                                               21-30589
                                                                         Civil Number:                     ________________
                                                                         Adversary Number:                 ________________
                                                                         Bankruptcy Judge:                 ________________
                                                                                                               KAPLAN

                                               TRANSMITTAL OF DOCUMENT(S) TO:
                                        DISTRICT COURT  CIRCUIT COURT OF APPEALS

    The following items have been filed with our office, and are being transmitted:
     Notice of Appeal                     Order being Appealed                    Designation of Record on Appeal
     Statement of Issues                  Transcript                              Transcript Ordered On: _________________________
     Motion for Leave to Appeal  Certification of Failure to File Designation                    Motion to Withdraw the Reference
     Other ____________________________________________________________________________________________
            Clerk's Certificate of Service


    If a Notice of Appeal is being transmitted:
    The Notice of Appeal was filed in our office on ________________________________.
                                                    March 16, 2022                    The parties to the appeal are:
Official Committee of Talc Claimants II, Patricia Cook, Evan Plotkin
Randy  Derouen, Kristie ________________________________
    Appellant(s):       Doyle as estate of Dan Doyle, Katherine Tollefson, Tonya   Appellee(s):   LTL Management LLC
                                                                                                  ________________________________
Whetsel as estate of Brand Whetsel, Giovanni Sosa, Jan & Micheslon Boyle
    Attorney:          ________________________________
                       Sherman Silvertstein Kohl Rose, et al.                      Attorney:      Wollmuth Maher & Deutsch LLP
                                                                                                  ________________________________
    Address:           ________________________________
                       308 Harper Drive, Suite 200                                 Address:       ________________________________
                                                                                                  500 Fifth Avenue

                       ________________________________
                       Moorestown, NJ 08057                                                       New York, NY 10110
                                                                                                  ________________________________

    Title of Order Appealed:              ________________________________________________________________________
                                          #1603 Order Denying Motion to Dismiss
    Date Entered On Docket:               ________________________________________________________________________
                                          March 2, 2022

     An appeal has not previously been filed in this case.
     The following list contains information regarding all appeals previously filed in this case:

                District Court Case Number                    District Court Judge Assigned                  Date of Transmission of
                                                                                                             Record to District Court
            22-cv-01280                                    Judge Freda L. Wolfson                            March 9, 2022
            22-cv-01289                                    Judge Freda L. Wolfson                            March 10, 2022
            22-cv-01303                                    Judge Freda L. Wolfson                            March 10, 2022
            22-cv-01339                                    Judge Freda L. Wolfson                            March 11, 2022
            22-cv-01387                                    Judge Freda L. Wolfson                            March 15,2022




      Court Clerk: Please complete the information below and return a copy of this form to ___________________________________within 3 days.

      Your Court’s Case Number:                                                     Judge assigned:
      By:                                                                           Date:



                                                                                                                                          rev. 8/28/17
